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                                     DISTRICT JUDGE'S MINUTES
                         IN THE UNITED STATES DISTRICT COURT
                             DISTRICT OF ARIZONA – TUCSON
Senior U.S. District Judge: Raner C. Collins      Date: October 28, 2019
USA v. Scott Daniel Warren                        Case Number: CR-18-00223-TUC-RCC (DTF)

Assistant U.S. Attorney: Anna Wright/Nathaniel Walters/Glenn McCormick
Attorney for Defendant: Gregory Kuykendall/Amy Knight (Retained)
Deputy Clerk: Sherry Gammon
Court Reporter: Erica McQuillen
Interpreter: N/A
Defendant: ☐ Present ☒ Presence Waived ☒ Released ☐ Custody ☐ Summons ☐ Writ

Motion Hearing/Status Conference
Matter comes before the Court re: Motion in Limine to Preclude Prior Acts (Doc. 348) filed by the
Defendant, Motion in Limine to Exclude Alien Smuggling Expert (Doc. 349) filed by the Defendant
and Motion to Clarify Order re: 353 (Doc. 356) filed by the Government.

Argument presented by Mr. Kuykendall and Mr. Walters re: the Motion in Limine to Preclude Prior
Acts (Doc. 348). The motion is taken Under Advisement. The Motion in Limine to Exclude Alien
Smuggling Expert (Doc. 349) is moot as the Government does not intend to call the expert as a
witness in their case in chief. The Motion to Clarify Order re: 353 (Doc. 356), argued by Mr. Walters
and Mr. Kuykendall, is Granted in Part. The Court provides clarification as to the gas station videos
and the selfies.

Counsel and the Court retire to chambers at 2:08 p.m. to review the jury questionnaires for strikes.
Counsel are excused at 4:49 p.m. Court continues to 10/29/2019 at 1:30 p.m. to further review jury
questionnaires.



                                                              Motion Hearing: 28 Minutes
                                                              Start: 1:29 p.m. Stop: 1:57 p.m.

                                                              In camera review: 2 Hours 41 Minutes
                                                               Start: 2:08 p.m. Stop: 4:49 p.m.
